        Case 1:15-cv-01245-VJW Document 63 Filed 08/28/18 Page 1 of 1




      In the United States Court of Federal Claims
                                   No. 15-1245C
                              (Filed August 28, 2018)

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                                  *
ESTATE OF ERNEST                  *
GOTTDIENER, et al.,               *
                                  *
                 Plaintiffs,      *
                                  *
      v.                          *
                                  *
THE UNITED STATES,                *
                                  *
                 Defendant.       *
                                  *
* * * * * * * * * * * * * * * * * *


                                     ORDER

       Plaintiffs’ pending motion for leave to file a supplemental brief concerns a
case before the Supreme Court, Carpenter v. United States, 16-402, for which an
opinion issued on June 22, 2018. The parties shall confer and file a joint status
report on or by Tuesday, September 11, 2018, addressing whether the issuance of
that opinion has mooted the requested supplementation, has not changed matters,
or necessitates further supplementation.

IT IS SO ORDERED.


                                      s/ Victor J. Wolski
                                      VICTOR J. WOLSKI
                                      Senior Judge
